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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    MONTE SILVER and
    MONTE SILVER, LTD.,
    an Israel corporation

                  Plaintiffs
                                                       Civil Action No. 19-cv-0247-APM
    v.
                                                       Judge Amit P. Mehta
    INTERNAL REVENUE SERVICE;
    UNITED STATES DEPARTMENT
    OF THE TREASURY; CHARLES RETTIG,
    in his official capacity as Commissioner of the
    Internal Revenue; and JANET YELLEN1, in
    her official capacity as United States Secretary
    of the Treasury

                  Defendants


                       PLAINTIFFS’ MEMORANDUM OF POINTS AND
                    AUTHORITIES IN SUPPORT OF THEIR MOTION FOR
                   RECONSIDERATION AND FOR LEAVE TO AMEND THE
                                    COMPLAINT




1
  Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Jannet Yellen, in her official
capacity as Secretary of Treasury, has been substituted as a defendant in place of former Secretary
of Treasury, Steven Mnuchin.
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                                   I.     INTRODUCTION
        Pursuant to Rules 59(e) and 60(b) of the Federal Rules of Civil Procedure (“FRCP”) 2

Plaintiffs respectfully submit this Memorandum of Points and Authorities in support of their

Motion for Reconsideration (ECF 70) of this Court’s March 28, 2021 Memorandum Opinion (ECF

67) (the “Opinion”) – Silver, et al. v. IRS, et al., 2021 WL 1180081 (D.D.C. Mar. 28, 2021) – and

Order (ECF 68) (the “Order”) denying their motion for Summary Judgment (ECF 47) and granting

Defendants’ Cross-Motion for Summary Judgment (ECF 57). Plaintiffs also seek leave to file an

amended complaint with respect to the remedy in accordance with FRCP 15. Specifically,

Plaintiffs ask that the Court reconsider its rulings that (i) Plaintiffs lack Article III standing because

the complained-of past injury cannot be redressed by a ruling in their favor (Opinion, at 17-20);

(ii) Plaintiffs lack Article III standing for so-called “prospective relief” (interpreted by the Court

to mean “injunctive relief”) due to a failure to demonstrate future injury (Opinion, at 20-24); and

(iii) that neither Plaintiffs Silver Limited or Silver in his individual capacity are “subject to” the

Final Regulations for purposes of the RFA 3 (Opinion, at 25-30).


                  II.    LEGAL STANDARD FOR RECONSIDERATION
        A motion for reconsideration under FRCP 59(e) should be granted when there is an

“intervening change of controlling law, the availability of new evidence, or the need to correct a

clear error or prevent manifest injustice.” See Nat’l Sec. Archive v. C.I.A., 584 F.Supp.2d 144, 146

(D.D.C. 2008), quoting Firestone v. Firestone, 76 F.3d 1205, 1208 (D.C. Cir. 1996). In addition,

FRCP 60(b) provides that, “[o]n motion and just terms, the court may relieve a party or its legal



2
  It is generally understood that Rules 59(e), and 60(b) of the Federal Rules of Civil Procedure
encompass motions for reconsideration. 11 Charles Alan Wright et al., FEDERAL PRACTICE &
PROCEDURE § 2810.1 (3d ed. 2017).
3
  All abbreviations, unless otherwise indicated, are the same as those used in Plaintiffs’ Motion for
Summary Judgment and related submissions.
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representative from a final judgment, order, or proceeding” for reasons including “any other reason

justifying relief.”

        There are three grounds why the Court should reconsider its Opinion and Order with regard

to Article III standing.

        First, the Court expressly declined to consider Plaintiffs’ argument that future injury is not

a prerequisite for relief under 5 U.S.C. §611(a)(4) on the grounds that it was raised for the first

time during oral argument. See Opinion, at fn. 5; see also Hearing Transcript (“Hr’g Tr.”), at 41–

42. The Court itself acknowledged that redressability was never thoroughly briefed by the parties

or considered by the Court on motion to dismiss or on summary judgment prior to oral argument.

Plaintiffs’ argument was advanced in response to the Court’s own inquiry about redressability.

Plaintiffs have consistently maintained that RFA-mandated relief is not injunctive relief and is not

conditioned upon future injury.

        Second, even assuming for argument’s sake that Article III required Plaintiffs to

demonstrate future injury in order to have judicial review on the merits of the Government’s failure

to comply with the certification requirements of 5 U.S.C. §605(b), Plaintiffs have established such

injury. As the Court noted, “the record is less clear on this point” and found that Plaintiffs’

explanation was both “lengthy” and “impenetrable.” Notably, the Court appropriately classified

the issue of future injury as a factual one (Opinion, at *12). Reconsideration is proper here because

Plaintiffs will now clarify whatever misunderstanding existed concerning Plaintiffs’ future injury.

Cf. Lovely-Coley v. D.C., 255 F. Supp. 3d 1, 9 (D.D.C. 2017) (granting motion for reconsideration

when it seeks to clarify “errors of [...] fact that need correction.”).




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       Third, recent Supreme Court authority concerning Article III standing not addressed by the

parties or the Court justifies revisiting the Court’s ruling that Plaintiffs’ past injury cannot be

redressed. In Uzuegbunam v. Preczewski, 141 S. Ct. 792 (March 8, 2021), the Supreme Court

ruled that Article III’s redressability requirement will be met by a prayer for nominal damages

where a procedural right has been abridged. Reconsideration is appropriate because the landmark

ruling in Uzuegbunam can directly affect the outcome of this case and therefore would prevent

manifest injustice, if the Court grants Plaintiffs’ motion for leave to amend their complaint to

include a prayer for nominal damages under FRCP 15.

       Reconsideration of the Opinion and Order is also proper in connection with the Court’s

conclusion relating to “statutory standing” under the RFA. The Court’s analysis is erroneous in

two regards: (1) as demonstrated below and as argued during summary judgment, CFCs like Silver

Limited are clearly deep within the “zone of interests” when it raises RFA challenges to the

Transition Tax Final Regulations. This is evident both from the statute, the Final Regulations and

the legislative history; (2) regardless of whether the Plaintiffs are seen as separate entities or a

unitary enterprise, the Court overlooked the way the IRC and the Government disregard

corporateness in the context of CFCs and their U.S. stockholders under Subpart F of the Code, the

TCJA and the Final Regulations. The Court’s apparent misunderstanding of these core concepts,

if not reconsidered and addressed, will result in “manifest injustice.” Reconsideration will serve

“to correct a clear error” for purposes of Rule 59(e).

       Finally, given the strong possibility that the Opinion and Order will be appealed,

reconsideration is also appropriate to ensure that the record before the appellate court is complete

thus enable full consideration of all legal argument on appeal. See City of New York v. Nat’l R.R.

Passenger Corp., 776 F.3d 11, 17 (D.C. Cir. 2015) (“We have previously held that a party seeking

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to raise a new issue on appeal should first present it to the district court pursuant to a Rule 59(e)

or 60(b)(6) motion.”); See also Cigar Ass’n of Am. v. United States Food & Drug Admin., 964

F.3d 56, 61 (D.C. Cir. 2020) (When a district court reviews agency action under the APA, Court

of Appeals in turn reviews the district court’s decision de novo.). 4

       Given the possible application of the special limitations period of the RFA [5 U.S.C.

§611(a)(3)(A)], as a practical matter the Court’s ruling will prevent a vast number of small

businesses from ever challenging the Transition Tax Final Regulations. Furthermore, according to

the Court’s ruling, it may be impossible for any U.S. shareholder or CFC ever to bring an APA or

RFA challenge to any Treasury regulations concerning CFCs or similar entities. This manifest

injustice warrants reconsideration. This is especially true where, as here, the merits of the case

weigh heavily in favor of the Plaintiffs. The Court did not address any of the merit arguments in

the Opinion and Order. However, it is unquestionable that Defendants’ certification flies in the

face of the RFA and makes a mockery of the regulatory flexibility process mandated by Congress.

The “standing” obstacles – both constitutional and statutory – preventing the Court from reaching

the merits of the Government’s defective Section 605(b) certification are, as we shall now show,

important but nevertheless surmountable as a matter of law.




4
  Plaintiffs also intend to appeal the Court’s ruling on Plaintiffs’ request to seal portions of the
record revealing Plaintiffs’ tax returns [ECF 69]. However, the present Motion for Reconsideration
concerns ECF 67 and 68 only.
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                           III.   ARGUMENT
   A. PLAINTIFFS HAVE ARTICLE III STANDING TO MAINTAIN THIS LAWSUIT


   1. THE COURT MISINTERPRETED THE RFA
      In its December 24, 2019 Order denying the Government’s motion to dismiss (ECF 29),

the Court found that Plaintiffs have Article III standing. In that Order, the Court agreed with the

parties that the injury at bar is best classified as a “procedural” injury, i.e., “an injury resulting

from the violation of a procedural right created by statute.” Id. The “injury-in-fact” identified was

Plaintiffs’ cost of complying with “the TCJA’s transition tax regulations.” Id. The Court also found

that there was a causal connection between the injury and Defendants’ alleged failure to undertake

an RFA analysis and determined that Plaintiffs established standing. Id. Notably, at the motion to

dismiss stage, the “court did not address the element of redressability.” Opinion, at *7.

       At the summary judgment stage, the Court revisited the issue of Article III standing, noting

that standing must be established at each phase of the litigation. Opinion, at *7. In this regard, the

Court elected to analyze Plaintiffs’ requested relief as retrospective and prospective. The Court’s

rationale is confusing and ultimately set the stage for an erroneous conclusion. On the one hand,

the Court described Plaintiffs’ request that the Section 605(b) certification be declared insufficient

and the Final Regulations be remanded back to the agency to comply with the RFA as

“retrospective.” On the other hand, Plaintiffs’ request that enforcement of the Final Regulations

be deferred was classified by the Court as “prospective” relief, akin to an injunction. The Court

made this distinction even though both forms of relief are expressly referred to in 5 U.S.C. §611

without any qualification as to time. Nor does Section 611 make any reference to injunctive relief.

Indeed, Plaintiffs never made any requests for retrospective or prospective/injunctive relief.

Plaintiffs simply are asking for the relief provided for under the RFA, Section 611.



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    2. FUTURE INJURY IS NOT A PREREQUISITE FOR RELIEF UNDER 5 U.S.C. §611


        From the outset, Plaintiffs have maintained that they are entitled to RFA-mandated relief

without regard to future injury. See, for example, ECF 61, at 4 (“As the Court made clear, standing

in an RFA procedural case does not require future injury.”). Counsel for Plaintiffs reasserted this

argument and expanded upon it during oral argument in response to a question raised by the Court.

See Hr’g Tr., at 41-42. Counsel explained that the remand and deferral remedies under 5 U.S.C.

§611 are not injunctions in the classical or conventional sense. Rather they are specific statutory

remedies unique to the RFA, added by Congress in the 1996 Amendment precisely to give

aggrieved small businesses the ability to seek judicial review of what Congress recognized as a

blatant disregard by federal agencies of the procedural minima laid down in the original 1980

legislation.

        During oral argument, the Court responded to this contention as follows:

               “So the question of whether, like an injunction, the statutory remedy that
               you’ve identified -- and I appreciate you flagging it -- for standing purposes,
               whether that requires future injury or not, I have to think about that.”
        Ultimately, however, the court declined to consider Plaintiffs’ argument, concluding that

Plaintiffs had waived the point having raised it “for the first time at oral argument,” [Opinion, at

fn. 5 citing Physicians for Social Resp. v. Wheeler, 956 F.3d 634, 647 (D.C. Cir. 2020)], 5 even


5
  Physicians for Social Resp. v. Wheeler dealt with appellate review, not oral argument at the
district court level. That case, in turn, also cited an appellate review decision, U.S. ex rel. Davis v.
D.C., 793 F.3d 120 (D.C. Cir. 2015). At the district level, however, a legal point raised at oral
argument in response to a court’s sua sponte inquiry regarding a jurisdictional issue such as Article
III standing should be ruled to preserve the legal issue for appellate review. We have found no
case where the waiver rule has been applied at the district court level in connection with an Art.
III standing argument. While case law on this point in the district court is scant, the better practice
would appear to be for the court to decide the issue in order to permit full and fair appellate review.
See Metlife, Inc. v. Financial Stability Oversight Council, 177 F.Supp.3d 219, 234-236 (D.D.C.
2016) [referencing an APA merits issue raised for the first time on oral argument, the court stated:
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though Plaintiffs have maintained throughout this litigation that RFA relief is not conditioned on

the assertion and proof of future injury. Moreover, Plaintiffs never requested injunctive relief and

nowhere in their original complaint (ECF 1) or in the amended complaint (ECF 5) is there any

prayer for injunctive relief as such. Plaintiffs only requested that the Court grant the remedies set

forth in Section 611.

       Section 611 provides in relevant part:

             For any rule subject to this chapter, a small entity that is adversely affected or
             aggrieved by final agency action is entitled to judicial review of agency
             compliance with the requirements of sections 601, 604, 605(b), 608(b), and
             610 in accordance with chapter 7 […]
             In granting any relief in an action under this section, the court shall order the
             agency to take corrective action consistent with this chapter and chapter 7,
             including, but not limited to—
             (A)        remanding the rule to the agency, and

             (B)       deferring the enforcement of the rule against small entities unless
             the court finds that continued enforcement of the rule is in the public interest.



       5 U.S.C. §611(a)(1) & (4).

       Nothing in the language of the statute suggests that Congress wished to treat Section 611

as equivalent to “prospective” relief equivalent to an injunction. The plain meaning of Section

611 comports with the Congressional intent in amending the RFA to protect small businesses from

overreaching and burdensome government regulations.               See Small Business Regulatory




“[a]rriving so late, this argument could be disregarded completely. Oral argument gives parties a
chance to flesh out their existing theories of the case, but it does not properly serve as an
opportunity for either party to present an entirely new theory of the case. [The agency’s] argument
was waived; the Court addresses it for the benefit of a reviewing court.” (citations and quotations
omitted)]. This approach is even more compelling on issues concerning the court’s subject matter
jurisdiction.
                                                  7
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Enforcement Fairness Act--Joint Managers Statement of Legislative History and Congressional

Intent, 142 CONG. REC. S3245 (daily ed. Mar. 29, 1996). From the very outset, Congress made it

clear that forcing small entities to incur compliance costs routinely absorbed by large enterprises

was an evil the RFA was intended to avert. 6 When the RFA was amended in 1996 to include

judicial recourse for the very procedural misconduct complained of in this case [i.e., mis-

certification under Section 605(b)], Congress did not anticipate that courts would circumvent

judicial review by reimposing procedural hurdles based on equity practice and the law of

injunctions. 7

        Consequently, the case law requiring that a plaintiff allege and prove future injury as a

condition for Article III standing for prospective relief is inapposite in the context of the RFA.

        This Court should not treat the relief under Section 611 as prospective/injunctive relief,

requiring plaintiffs to allege and prove future injury. Such an interpretation of the RFA would

recreate, by judicial fiat, the same sort of procedural impediments and disincentives for small

entities that the RFA was enacted to ameliorate.




6
  Congressional Findings and Declaration of Purpose, Pub. L. 96–354, §2, Sept. 19, 1980, 94 Stat.
1164, published as a Note to 5 U.S.C. §601 (“The Congress finds and declares that uniform Federal
regulatory and reporting requirements have in numerous instances imposed unnecessary and
disproportionately burdensome demands including legal, accounting and consulting costs upon
small businesses […] with limited resources.”).
7
  The result of applying the Court’s logic to Section 611 is that plaintiffs who can prove past injury
will be entitled to relief under 611(a)(4)(A), but NOT 611(a)(4)(B). Nothing in the statute suggests
that Congress intended to bifurcate the different forms of relief and make them available to some
small businesses, but not others.
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   3. BOTH PLAINTIFFS HAVE ARTICLE III STANDING WITH RESPECT TO
      PROSPECTIVE RELIEF BECAUSE THEY WILL HAVE FUTURE REPORTING
      REQUIREMENTS AND COMPLIANCE COSTS


       Even assuming, for the sake of argument only, that RFA-mandated relief under Section

611 requires proof of future injury, Plaintiffs have shown that they will incur future injury as a

direct result of Defendants’ failure to comply with the RFA. The Court’s conclusion to the contrary

was based on a misunderstanding of the tax scheme created by the TCJA’s Section 965, the Final

Regulations thereunder and the interplay between Section 965, the Final Regulations and Sections

959 and 962 of the IRC, as amended by the TCJA.

       As the Court accurately noted, the “tax scheme created by section 965 is complicated, to

say the least.” Opinion, at *3. The Court found that Plaintiff Silver’s declaration includes “only

one line regarding future injury” and that such an “unadorned statement of future injury is

insufficient to carry Plaintiffs’ burden at this stage of the case.” Opinion, at *11.

       Regarding the so-called 962 election, the Court found that Plaintiffs failed to show “how

the section 965 regulations will impose future recordkeeping or reporting burdens.” Id. This ruling

ignores both the substance and effect of the Final Regulations.

       In their briefs, at oral argument and in Plaintiff Silver’s declarations, Plaintiffs explained

in detail how Silver was required to make an election under the all-but-dormant Section 962 in

order to offset liability for Transition Tax through the use of foreign tax credits and take advantage

of a reduced U.S. corporation tax rate. The Final Regulations refer at length to these elections

(fifty-four times(!)). Section 962 was amended together with the Transition Tax.

       These regulations are highly complex and difficult to understand, even for an international

tax expert like Plaintiff Silver. However, notwithstanding the complexity of the matter, one thing

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is clear: the interplay between Sections 965 and 962 leads to the conclusion that Plaintiffs will

incur future injuries as a result of the Transition Tax Final Regulations.

           When a U.S. shareholder is faced with Transition Tax liability, Defendants anticipated that

he may make a 962 election. It was for this reason that Section 962 was substantially amended and

discussed extensively in the Final Regulations. By making a 962 election, the U.S. individual

stockholder’s share of deferred and undistributed CFC profits will be taxed at the U.S. corporation

tax rate. In addition, by invoking the Section 962 election, taxpayers are also eligible to take

foreign tax credit for corporate tax paid on the CFC’s business profits. In the absence of a Section

962 election, this foreign tax credit is disallowed.

           As a result of the application of IRC Section 965, 100% of Silver Limited’s pre-1986

deferred (i.e., undistributed earnings and profits) became “subject to” the one-time Transition Tax

under the TCJA and payable by Plaintiff Silver, Limited’s sole U.S. shareholder. The Final

Regulations allowed Plaintiff Silver to offset the Transition Tax due in respect of the deferred pre-

1986 earnings and profits by foreign tax credits paid by Limited to the Israeli tax authorities prior

to 2018. This set off was accomplished through an election under IRC Section 962(d). Plaintiffs

Silver and Silver Limited incurred compliance costs in connection with the Transition Tax when

Silver prepared, filed and amended his 2017 tax returns. Thus far there is no dispute between the

Parties.

           The discussion here concerns the Plaintiffs’ future information collection, reporting and

compliance obligations in future tax years in respect of the Transition Tax under the Final

Regulations.       Accompanying the present Motion for Reconsideration is Plaintiff Silver’s

Supplemental Declaration which explains these future obligations in greater detail in light of the

Court’s Article III standing analysis.

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       In the summary judgment briefing and at oral argument, Plaintiffs showed that their future

compliance costs will arise when Plaintiff Silver Limited makes an actual distribution to Plaintiff

Silver in the form of a dividend out of Limited’s earnings and profits. As the Court itself noted,

when the CFC profits are ultimately extracted as dividends in the future, the shareholders will have

to comply “with a wide variety of the most complex tax laws in the IRC […]” See Opinion, at *11.

The Court discounted such future injury on two grounds. First, the Court maintained that Plaintiffs

had failed, as a factual matter, to show “when Silver Limited might issue a dividend to Silver that

would trigger the claimed compliance obligations.” Id. [Emphasis in original]. However, implicit

in Plaintiffs’ briefing and arguments is the fact that Silver, as sole owner and manager of Limited,

will allocate dividends.     Moreover, Silver’s Supplemental Declaration filed concomitantly

herewith answers this concern explicitly.

       In 2021 due to certain education and housing commitments related to my children, I am
       forced to draw a dividend from Silver Limited. This will be my first dividend since the
       enactment of the Transition Tax. As stated in Plaintiffs’ reply brief to the motion for
       summary judgement: “What is certain is that complex and costly compliance will be
       required whether dividends are distributed tomorrow or in 20 years, and regardless of
       whether Plaintiffs owed Transition Tax. This is not speculative. This is a certainty.

       Indeed, it is a certainty, and this day has come.

Silver Supp. Decl., ¶¶ 3 – 4.

       The Court’s principal objection to Plaintiffs’ future injury explanation was a legal one,

saying that “it is far from evident that the section 965 regulations would be the cause of such costs.”

Opinion, at *12.    This is simply incorrect. Plaintiffs’ future compliance obligations will occur

when Silver Limited makes an actual distribution out of pre- and post-2018 earnings and profits.

That future obligation is directly traceable to the §962 election referred to above and that election




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can only be made when Treasury issues regulations providing for the same. IRC Section 962(b).

The Final Regulations provide the mechanism for making this election.

       As a direct consequence of making the §962 election under the Final Regulations, once

Silver Limited makes an actual distribution of earnings and profits, as Limited will do in 2021, the

“special rule for actual distributions” set forth in §962(d) is triggered. That section provides:

       The earnings and profits of a foreign corporation attributable to amounts which were
       included in the gross income of a United States shareholder under section 951(a) and
       with respect to which an election under this section applied shall, when such earnings
       and profits are distributed, notwithstanding the provisions of section 959(a)(1), be
       included in gross income to the extent that such earnings and profits so distributed
       exceed the amount of tax paid under this chapter on the amounts to which such election
       applied.

This statute specifically requires that undistributed profits that were subject to a §962 election and

therefore were excluded from being taxed previously will become taxable when the CFC actually

distributes such profits. This special rule for actual distributions is a direct consequence of the

§962 election made possible by the Final Regulations. The special rule for actual distributions

also expressly implicates Section 959(a) which deals with the exclusion of income attributable to

CFCs when such amounts are actually distributed.

       The interplay of the various Code provisions referred to above is a direct and proximate

result of the election mechanism made possible by the Final Regulations.

       As Plaintiff Silver explains in his Supplemental Declaration, when Silver Limited makes

an actual distribution in 2021, the CFC will have two principal sources of earnings and profits:

pre-2018 earnings and profits and post-2018 earnings and profits. The pre-2018 earnings and

profits were subject to the Transition Tax under Section 965. The post-2018 earnings and profits

were not. [See Suppl. Decl. at ¶¶6, 8-10]. But as the Government conceded in its summary

judgment briefing quoted in Silver’s Supplemental Declaration, Silver Limited and Silver will

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have to collect information and report on both pre-2018 and post-2018 income, even though Silver

did not actually pay a Transition Tax thanks to the 962 election. Defendants acknowledge that

when Limited issues its dividend (in 2021) Silver and Limited will need

       to track earnings of his CFC that have been subject to the transition tax and the section 962
       election, as well as earnings not subject to the transition tax, so that when the CFC’s
       earnings are distributed to him in the future, those earnings that were subject to the
       transition tax for which a section 962 election were made are distributed in the correct order
       and offset by any taxes previously paid on those earnings. Here, because Silver paid zero
       in transition tax on the accumulated post-1986 earnings and profits of the CFC he controls,
       pursuant to section 962(d), there is no offset to apply when those future earnings are
       distributed and included in his income. He still has to track the earnings subject to the
       transition tax and the section 962 election separately (unless he has no other previously
       taxed earnings and profits from prior years or in future years) because distribution rules
       under section 959 direct that the transition tax earnings are considered to come out “first”
       when a taxpayer receives a distribution of current or accumulated earnings and profits of a
       CFC. 8

The Government does not dispute that Plaintiffs will have to comply with complicated income

tracking rules when Silver Limited makes an actual distribution. It simply claims that these

formidable obligations are attributable to IRC Section 959 and 962 and not to Section 965 and the

Final Regulations. This is an argument about causation not injury. But this is an exercise in

semantics. The fact remains that Plaintiffs’ future compliance obligations in connection with

actual distributions made by Limited are inextricably connected to and derive from the Final

Regulations. But for the Final Regulations, Plaintiffs would not be able to make a 962 election;

but for the 962 election, Plaintiffs’ future compliance costs, if any, would have been significantly

less. Accordingly, Plaintiffs’ future obligations for recordkeeping and reporting (i.e., future injury

for purposes of Article III standing) are inescapable and incontrovertible with the Final

Regulations.


8
 Footnote 2 of the Government’s Reply in Support of their Cross-Motion for Summary Judgment
(ECF 65).


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       In its Opinion, the Court conflated the Article III injury-in-fact analysis with redressability,

stating, “Plaintiffs fail to explain how conducting an RFA analysis in connection with the 965

regulations could help him [sic] avoid costs imposed by other provisions of the tax code or a tax

treaty.” Opinion at *12. The answer is that had Defendants conducted a proper regulatory

flexibility analysis it could have readily simplified, if not eliminated, the plight of small business

taxpayers and their CFCs by providing clear guidelines; for example, by excusing small businesses

from having to engage in income tracking when no Transition Tax was paid due to a §962 election.

       In sum, Plaintiffs have shown that they are likely to incur significant compliance costs in

the future upon the making of actual distributions by Silver Limited. The issue therefore is not

whether Plaintiffs have shown a concretized and particular injury; they have done so. The only

questions relate to whether the injury alleged and proven was caused by the Final Regulations and

whether the prayed-for relief would redress that injury. As the foregoing discussion demonstrates,

both prongs of the standing requirements have been adequately met in the present case. Finally,

in cases where Article III standing is predicated upon a procedural injury, the courts have

consistently held that where a plaintiff can demonstrate a concrete interest affected by the

procedural deprivation, required showings for immediacy and redressability are significantly

relaxed. E.g., Center for Law and Educ. v. Department of Educ., 396 F.3d 1152, 1157 (D.C. Cir.

2005); California v. Trump, 2020 WL 1643858 at *6-7 (D.D.C., Apr. 2, 2020).


   4. PLAINTIFFS’ INJURIES CAN BE REDRESSED BY GRANTING THEM
      NOMINAL DAMAGES


       As it did on motion to dismiss (ECF 29), the Court held that Plaintiffs’ compliance costs

were a concrete and particularized injury which would support the all-important injury-in-fact




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component of Article III standing in a “procedural injury” case like the one at bar. This point is

undisputed.

       Turning to the redressability prong, the Court chose to characterize Plaintiffs’ request for

declaratory relief as “retrospective,” concluding, however, that the remand and deferral relief

prayed for by Plaintiffs would not remedy the harm incurred by the Plaintiffs in the form of

compliance costs. They had been expended and could not be recovered. See Opinion, at *9: “If

the court were to grant the retrospective relief Plaintiffs seek – declaring unlawful the agency’s

failure to perform an RFA analysis […] – such relief would do nothing to redress Plaintiffs’

claimed concrete injury.”

       The Court’s redressability concerns, raised for the first time at oral argument, could be

readily rectified through an award of nominal damages. Plaintiffs have not prayed for nominal

damages thus far, for two simple reasons: (1) they concluded that Article III standing exists based

on compliance costs and the plain meaning of Section 611, as discussed above; and (2) at the time

the case was filed and through the briefing on motion to dismiss and at summary judgment, the

Supreme Court had not ruled that nominal damages would be sufficient to satisfy Article III’s

redressability requirement in a case where a constitutional or statutory procedural right had been

violated. On March 8, 2021, the Supreme Court resolved this issue in an 8-1 decision in

Uzuegbunam v. Preczewski, 141 S. Ct. 792 (2021), where the Court held a request for nominal

damages satisfies the redressability element necessary for Article III standing where a plaintiff’s

claim is based on a violation of a legal right.

       The basic principle that a violation of a right imports damage is not confined to

constitutional harms, like those at issue in Uzuegbunam. The violation of procedural-statutory

rights will also give rise to claims that that can be redressed by nominal damages. Cf. Carey v.

                                                  15
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Piphus, 435 U.S. 247 (1978); Zinermon v. Burch, 494 U.S. 113, 126 n. 11 (1990) (Carey

established “that in cases where the deprivation would have occurred anyway, and the lack of due

process did not itself cause any injury (such as emotional distress), the plaintiff may recover only

nominal damages.”). This is certainly true with the RFA, the purpose of which is to protect small

business from unduly burdensome regulations and which provides judicial redress for failure to

comply with its provisions. In addition, nothing in the language of the RFA precludes an award

of nominal damages.

       Because nominal damages is an appropriate remedy for the violation of a legal right such

as that created by the RFA, such damages can serve as Art. III standing purposes.

       Plaintiffs realize that the First Amended Complaint (ECF 5) does not contain a request for

nominal damages. However, Plaintiffs now seek leave to file a Second Amended Complaint,

adding this specific form of relief. This simple amendment would resolve the Court’s concern

about redressability and would go far to give effect to the Congressional intent to protect small

entities like the Plaintiffs in this case by allowing the Court to reach the merits under 5 U.S.C.

§605(b).

       Accordingly, Plaintiffs respectfully request the Court to grant Plaintiffs’ Motion for

Reconsideration under FRCP 59(e) and 60(b)(6) and, thereafter grant Plaintiffs leave to amend

their complaint under FRCP 15.

       FRCP 59(e) and 60(b) authorize the court to set aside the judgment. The question whether

an amendment then should be allowed is governed by Rule 15. “As a practical matter, the motions

under the two rules will be made simultaneously and decided together, since it would be a needless

formality for the court to grant the motion to reopen the judgment only to deny the motion for


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leave to amend.” 6 Charles Alan Wright et al., FEDERAL PRACTICE & PROCEDURE §1489.1 (3d ed.

April 2021 Update).

       The standard for assessing a motion to amend a pleading is well established. Under FRCP

15(b), a “court should freely give leave when justice so requires.” Rule 15(b)’s “mandate is to be

heeded.” Foman v. Davis, 371 U.S. 178 (1962). “If the underlying facts or circumstances relied

upon by a plaintiff may be a proper subject of relief, he ought to be afforded an opportunity to test

his claim on the merits.” Id. Denying leave to amend is thus an abuse of discretion and inconsistent

with the spirit of the Federal Rules unless the court provides a sufficient reason for so doing, such

as “futility of amendment, undue delay, bad faith, dilatory motive, undue prejudice, or repeated

failure to cure deficiencies by previous amendments.” Gilliam v. U.S. Dep’t of Just., 128 F. Supp.

3d 134, 143 (D.D.C. 2015) [per Mehta, J.], citing Boyd v. District of Columbia, 465 F.Supp.2d 1,

3 (D.D.C. 2006).

       Here, there is no sufficient reason to deny Plaintiffs’ motion to amend:

       1. The amendment would not be futile: as argued above, adding a request for relief in the

           form of nominal damages will rectify the Art. III standing redressability obstacle.

       2. There is no undue delay: Plaintiffs make this request to amend in a timely fashion in

           connection with a Rule 59(e) and 60 Motion for Reconsideration. The Court itself

           acknowledged that redressability was never discussed, briefed or otherwise an issue

           until the hearing on summary judgment. See Berger v. Ohio Table Pad Co., 539

           F.Supp.2d 1069, (N.D. Indiana 2008) (permitting the amendment of a complaint after

           ruling on summary judgment in order to avoid subject matter jurisdictional defects);

           and see Darney v. Dragon Products Co., LLC, 266 F.R.D. 23, 27-29 (D. Me. 2010)



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           (adding new liability claim after discovery, scheduling orders and partial summary

           judgment). For the same reason, this request is not based on a dilatory motive.

       3. The request to amend is being made in good faith, i.e., in order to overcome Art. III

           standing and to allow the Court to reach the merits of this case. See New York State

           Rifle & Pistol Ass’n, Inc. v. City of New York, New York, 140 S. Ct. 1525, 1533 (2020)

           (“[i]t is black-letter law that we have a ‘virtually unflagging’ obligation to exercise our

           jurisdiction.); See also Edge Inv., LLC v. D.C., 927 F.3d 549 (D.C. Cir. 2019) (same);

           See also 28 U.S.C. §1653.

       4. The request to amend does not unduly prejudice Defendants: The proposed amendment

           is simple and, by large, opens the door to additional legal arguments concerning Article

           III standing. Plaintiffs only wish to add relief for nominal damages. The arguments of

           the merits of the case have already been briefed.

       5. The current request is not a repeated failure to cure deficiencies by previous

           amendments: Plaintiffs were never required to amend to cure any substantial

           deficiencies. Now, however, Plaintiffs propose to amend their complaint to add relief

           that will likely change the Court’s Article III standing analysis and conclusion.

       Accordingly, Plaintiffs respectfully move this Court to grant them leave to amend their

complaint. 9




9
  Note that a demand for nominal damages will not be barred by a claim of sovereign immunity
on the part of the United States. Little Tucker Act, 28 U.S.C. §1346(a)(2). See United States v.
Bormes, 568 U.S. 6, 10 (2012)(Little Tucker Act does not create substantive rights but are
jurisdictional provisions that operate to waive sovereign immunity for claims premised on other
sources of law.”).

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        In light of all the above, Plaintiffs request that the Court reconsider its ruling on Art. III

standing. Reconsideration of this point will allow the Court to exercise its unflagging obligation

to adjudicate matters within its jurisdiction, especially in this case where the merits weigh in favor

on the Plaintiffs.

     B. PLAINTIFFS ARE REGULATED ENTITIES FOR THE PURPOSES OF THE RFA


     1. PLAINTIFFS FALL WITHIN THE ZONE OF INTERESTS OF THE RFA


        Preliminarily, we note that Defendants have never contended that the Plaintiffs are not

“regulated” entities for purposes of the RFA. 10 In fact, Defendants admitted that Silver Limited,

as a CFC, is “subject to” the challenged regulations. See Opinion, at *13 (discussing Defendants’

apparent concession in this matter).

        As the Supreme Court explained, the question at issue is whether the Plaintiff falls within

the “zone of interests” of the statute. See Lexmark Int’l, Inc. v. Static Control Components, Inc.,

572 U.S. 118, 131 (2014); See also, Permapost Prod., Inc. v. McHugh, 55 F. Supp. 3d 14, 30

(D.D.C. 2014) (describing the “regulated” entity issue in terms of “zone of interests.”). Thus,

Limited’s “statutory standing” is a function of whether it falls within the “zone of interests” to be

protected by the RFA. That, as we show below, is a very lenient inquiry that sets a low bar.

        Under the “zone of interests” approach, a statutory cause of action extends only to plaintiffs

whose interests “fall within the zone of interests protected by the law invoked.” Id., citing Allen v.

Wright, 468 U.S. 737 (1984). In the APA/RFA 11 context, that test is not “especially demanding.”




10
   Defendants’ arguments focused exclusively on whether Plaintiffs are “small entities,” not
whether they are “regulated” entities.
11
   RFA-related challenges are reviewed in accordance with the APA. 5 U.S.C. §611(a)(2).
                                                 19
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Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 225 (2012)

(analyzing APA statutory standing). The “zone of interest” test “forecloses suit only when a

plaintiff’s interests are so marginally related to or inconsistent with the purposes implicit in the

statute that it cannot reasonably be assumed that” Congress authorized that plaintiff to sue. Id. See

also Cath. Legal Immigr. Network, Inc. v. Exec. Off. for Immigr. Rev., 2021 WL 184359, at *10

(D.D.C. Jan. 18, 2021) (per Mehta, J.) (finding that pro bono or low-cost counsel are within the

“zone of interests” of the INA even though they are not regulated by it).

         Had the Court applied this standard to the case at hand, it would have concluded that a CFC

like Silver Limited falls well within the “zone of interests” of the statutes and regulations at issue.

   (i)      Plaintiff Silver Limited:

         Here, Plaintiff Limited is within the “zone of interests” of the RFA because its interests are

related to and consistent with the purposes set forth in the RFA and Final Regulations such that it

can be reasonably assumed that Congress authorized that type of plaintiff to sue. Cf. Lexmark, at

130. One need only glance at the Transition Tax statute to see how deep within the RFA/Transition

Tax zone a CFC like Limited is. Plaintiffs respectfully refer the Court to a chart attached here as

Exhibit “A” describing the various essential obligations imposed on a CFC like Silver Limited

under the Transition Tax. The following are just a few examples demonstrating the CFC’s integral

part in the Transition Tax process:

   (1) First stage: Calculating the retained earnings of the CFC in 2017. This gives is the “gross
       income” on which the tax will be imposed.
   (2) Second stage: Calculating the allowable deductions, which are calculated directly based on
       two asset types of the CFC – CFC cash and CFC non-cash assets.
   (3) Third stage: Calculating the US Shareholder entitlement to the CFC foreign tax credits.
       This is based on what the CFC paid in in foreign taxes.
   (4) Fourth stage: Section 78 adjustments related directly to the amount of foreign taxes paid
       by the CFC.
                                                  20
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    (5) Fifth stage: Only after all that is done at the CFC level can the US shareholder start
        computing tax liability on the CFC profits.


        To be sure, the tax is ultimately paid by the U.S. shareholder. However, all the highly

complex accounting and compliance work which causes significant costs is done at the CFC level.

In recognition that the “zone of interest” test sets a “low bar” (Cath. Legal Immigr. Network, Inc.,

at 10.), a CFC in the Transition Tax context is far more within the “zone of interests” of the RFA

than pro bono counsel in the INA context. Without investing substantial resources in

tax/accounting work, the CFC cannot provide the end data to the U.S. shareholder. Without this

data, the U.S. Shareholder cannot comply. To say that the CFC does not have to comply is, simply

stated, fictional.

        The Court cited Mid-Tex Elec. Co-op., Inc. v. F.E.R.C., 773 F.2d 327 (D.C. Cir. 1985) for

the proposition that an entity is not “subject to” a regulation unless the regulation “imposes

responsibilities directly on” the entity. Opinion, at *14. That case is clearly distinguishable. There,

end-user wholesale customers of electric utilities whose wholesale rates were regulated by the

Federal Energy Regulatory Commission challenged proposed rule allowing electric utilities to

include in their rate bases amounts equal to 50% of their investments in construction work in

progress. In Mid–Tex, FERC was not required to consider the indirect economic effects on the

wholesale customers of the utilities or on the ultimate retail consumers, neither of which was

regulated by the challenged rule.

        Mid-Tex and its progeny stand for the proposition that only “regulated” entities fall within

the “zone of interests” of the RFA and may file suit. The plaintiffs in Mid-Tex and similar cases

were neither the subject nor the target of the challenged regulation. Clearly, that is NOT the case

in the Transition Tax context where the foreign CFC is directly impacted by the challenged

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regulation, targeted by the challenged regulation and required to comply with the information

collection and reporting requirements imposed by the Transition Tax Regulations and, as a result,

will incur compliance costs.

      (ii)       Plaintiff Silver:

             There is no dispute that Plaintiff Silver, as the taxpayer, is a “regulated” entity for purposes

of the Final Regulations. As a shareholder of the CFC, Silver is directly regulated by the Transition

Tax Final Regulations. See also, Opinion, at *13 (finding that Silver is “subject to” the transition

tax regulations).

             However, in a case of first impression anywhere in the United States, the Court held that

Silver was not a “small business concern” for the purposes of the RFA (5 U.S.C. §601(6)) and

SBA (15 U.S.C. §632(a)(1)) because he is not “individually owned and operated.” 12 See Opinion,

at *15. In other words, the Court held that a natural person cannot be a small business concern for

the purposes of the SBA and, therefore, the RFA. This is plainly wrong. Silver, as the sole

shareholder and operator of Limited, is not only “individually owned and operated,” but is also in

the business of managing and operating his professional corporation. Nothing in the statute or in

the legislative history indicates that natural persons cannot qualify as “independently owned and




12
     15 U.S.C. §632(a)(1) defines a small business concern as follows:

        For the purposes of this chapter, a small-business concern […] shall be deemed to
        be one which is independently owned and operated and which is not dominant in
        its field of operation.

There is no issue in this case regarding the “dominant in its field” prong. Silver is not dominant in
his field of operation.
                                                       22
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operated.” 13 Indeed, the most independently owned and operated business is, in fact, a natural

individual. In this case of first impression, the Court did not support its naked conclusion with any

legal, statutory, or administrative authority. 14

        The Government itself treats Plaintiff Silver as a corporate entity for purposes of his 962

election. 15 Because Silver has made a 962 election, he is treated for tax purposes as a domestic

corporation and is therefore entitled to foreign tax credits. That is the very essence of the 962

election. An individual shareholder who uses a Section 962 election is taxed as if the shareholder

was a domestic “C” corporation, putting the individual U.S. shareholder on a level playing field

with a corporate U.S. shareholder. The individual is then taxed on any Subpart F income, including

the Transition Tax, at corporate tax rates with the benefit of foreign tax credits.

        Therefore, because Silver is treated like a corporate business for the purposes of the 962

election, and hence for Section 965, he should be considered a business for the purposes of the

RFA, falling within the “zone of interests” of the statutes and regulations at issue. If the very

regulation at issue treats Silver as a business for tax purposes, certainly he should be deemed a

business to challenge it.




13
   Indeed, the SBA has included in the definition of a small business concern a “sole
proprietorship.” This shows incontrovertibly that a natural person can, in fact, be a small business
concern. The statute does not require the to be entities. 13 C.F.R. §121.105.
14
   The Court also concluded that Silver, as a sole proprietor, lack statutory standing because
“whatever status Silver may hold in relation to his real estate business is irrelevant to whether he
qualifies as a small entity under the RFA for the purposes of this case.” Opinion., at *15. However,
Silver’s capacity as a real-estate investor is not determinative. What is relevant is Silver’s capacity
as a shareholder in his CFC, Silver Limited.
15
  We are not suggesting that only individuals that make a 962 election are deemed “small business
concerns” for the purposes of the RFA. As we already stated, natural individuals as such are
considered “independently owned and operated” without regard to a 962 election.
                                                    23
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       Accordingly, both Plaintiffs fall within the “zone of interests” of the RFA in the Transition

Tax context.

   2. IN THE CASE OF SUBPART F STATUTES AND REGULATIONS, WHERE TAX
      LAW DISREGARDS THE CORPORATE ENTITY, PLAINTIFFS ARE ONE-IN-
      THE-SAME FOR RFA PURPOSES


       The Court also sought to justify its holding that neither Plaintiff is regulated for RFA

purposes on the basis of the common law rule that treats a corporation and its shareholders as

distinct juridical persons. The Court stated as follows:

       Such an argument—that a shareholder and a corporation should be viewed
       as one and the same—flies in the face of the longstanding principle that “[a]
       corporation is ordinarily to be viewed as a distinct entity, even when it is
       wholly owned by a single individual.”

       Opinion, at *14.
       The application of the common law doctrine in the context of the RFA and the Final

Regulations is manifestly incorrect and warrants reconsideration. The Court’s analysis ignores the

manner in which CFCs and their U.S. stockholders are treated by the Government under Subpart

F of the IRC.

       In arguing that both Plaintiffs should be viewed as a “package” deal, Plaintiffs were simply

stating that for the purposes of RFA standing to challenge the Final Regulations, distinguishing

between corporation and shareholder flies in the face in the manner in which the entity and the

shareholder are treated under Subpart F of the IRC. As is the case here, the Transition Tax statute

and Final Regulations disregard the corporate veil doctrine for tax purposes. This is the very nature

of the CFC. Plaintiffs never suggested, nor do they suggest now, that courts should ignore the

corporate veil separating shareholders from their corporation for general liability purposes. In



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this case, the IRS treats the foreign corporation and its U.S. stockholder as an integrated

enterprise. 16

          With the passage of the TCJA and the creation of the Transition Tax, the IRS undid the

corporate veil between U.S. shareholders and their CFCs in order to impose a tax of all

undistributed and deferred earnings and profits. The Final Regulations and the statute which they

implement make no sense unless they apply both to the U.S. stockholder and the foreign

corporation as an integrated enterprise. They are inseparable for tax purposes. They should be

treated no differently for the purposes of the RFA.




16
     See https://www.irs.gov/irm/part4/irm_04-061-007:

          The taxation of foreign income earned by foreign corporations owned by U.S. persons
          drastically changed with the introduction of subpart F into the Internal Revenue Code
          (IRC) in 1962. Subpart F deals with the U.S. taxation of amounts earned by CFCs. It
          provides that certain types of income of CFCs, though undistributed, must be
          included in the gross income of the U.S. shareholder in the year the income is earned
          by the CFC. Taxation of foreign income earned by CFCs also significantly changed
          with the passage of TCJA in late 2017. Certain previously deferred earnings were
          immediately taxable under the IRC 965 transition tax, and going forward, a new
          taxation subpart F regime was established for global intangible low-taxed income
          (GILTI) and a dividends received deduction for foreign source dividends were
          enacted.

See also, William W. Park, Fiscal Jurisdiction and Accrual Basis Taxation: Lifting the Corporate
Veil to Tax Foreign Company Profits, 78 COLUM. L. REV. 1609 (1978).

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                                       IV.     CONCLUSION


       For the reasons set forth above, the Plaintiffs request that the Court reconsider its holdings

both with respect to Article III standing and statutory standing.

       The Court is also requested to grant Plaintiffs’ request for leave to file a Second Amended

Complaint, adding a prayer-for relief in the form of nominal damages.

Respectfully submitted,

Date: April 23, 2021.

                                                      /s/ Lawrence Marc Zell
                                                      ________________________________
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